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1    CARLOS HOLGUÍN (Cal. Bar No. 90754)
     Center for Human Rights and Constitutional Law
2    256 South Occidental Blvd.
     Los Angeles, CA 90057
3    Telephone: (213) 388-8693, ext. 309
     Facsimile: (213) 386-9484
4    email: crholguin@centerforhumanrights.org
5    Listing continued on next page
     Attorneys for Plaintiffs
6
7
8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   LUCAS R., by his next friend MADELYN     Case No. 2:18-CV-05741
     R.; DANIELA MARISOL T., by her next
12   friend KATHERINE L.; MIGUEL ANGEL        COMPLAINT FOR
     S., by his next friend GERARDO S.;       INJUNCTIVE RELIEF,
13   GABRIELA N., by her next friend ISAAC    DECLARATORY RELIEF, AND
     N.; JAIME D., by his next friend REYNA   NOMINAL DAMAGES
14   D.; SAN FERNANDO VALLEY REFUGEE
     CHILDREN CENTER, INC.;
15   UNACCOMPANIED CENTRAL AMERICAN           (CLASS ACTION)
     REFUGEE EMPOWERMENT,
16
                    Plaintiffs,
17
            v.
18
     ALEX AZAR, Secretary of U.S.
19   Department of Health and Human
     Services; E. SCOTT LLOYD, Director,
20   Office of Refugee Resettlement of the
     U.S. Department of Health & Human
21   Services,
22                  Defendants.
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                                                           Center for Human Rights & Constitutional Law
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1    Counsel for Plaintiffs, continued
2    HOLLY S. COOPER (Cal. Bar No. 197626)
     Co-Director, Immigration Law Clinic
3    CARTER C. WHITE (Cal. Bar No. 164149)
     Director, Civil Rights Clinic
4    University of California Davis School of Law
     One Shields Ave. TB 30
5    Davis, CA 95616
     Telephone: (530) 754-4833
6    Email: hscooper@ucdavis.edu
            ccwhite@ucdavis.edu
7
8    LEECIA WELCH (Cal. Bar No. 208741)
     NEHA DESAI (Cal. RLSA Bar No. 803161)
9    POONAM JUNEJA (Cal. Bar No. 300848)
     National Center for Youth Law
10   405 14th Street, 15th Floor
     Oakland, CA 94612
11   Telephone: (510) 835-8098
     Email: lwelch@youthlaw.org
12          ndesai@youthlaw.org
            pjuneja@youthlaw.org
13
14   CRYSTAL ADAMS (Cal. Bar No. 308638)
     National Center for Youth Law
15   1313 L St. NW, Suite 130
     Washington, DC 20005
16   Telephone: (202) 868-4785
     Email: cadams@youthlaw.org
17
18   SUMMER WYNN (Cal. Bar No. 240005)
     MARY KATHRYN KELLEY (Cal. Bar No. 170259)
19   JON F. CIESLAK (Cal. Bar No. 268951)
     Cooley LLP
20   4401 Eastgate Mall
     San Diego, CA 92121-1909
21   Telephone: (858) 550-6000
     Email: swynn@cooley.com
22          mkkelley@cooley.com
            jcieslak@cooley.com
23
24
25
26
27
28
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1                                               I.
2                                      INTRODUCTION
3           1.    This is an action for injunctive relief, declaratory relief, and nominal
4    damages, challenging certain unlawful policies and practices of Defendant Office of
5    Refugee Resettlement (“ORR”), a subordinate entity within the U.S. Department of
6    Health and Human Services (“HHS”). These policies and practices are causing grave
7    harm to children detained for alleged civil violations of the Immigration and
8    Nationality Act, 8 U.S.C. §§ 1101, et seq. (“INA”). Pursuant to § 462 of the Homeland
9    Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135, codified at 6 U.S.C. § 279
10   (“HSA”), and § 235 of the William Wilberforce Trafficking Victims Protection
11   Reauthorization Act of 2008, Pub. L. 110-457, 122 Stat. 5044, codified at 8 U.S.C.
12   § 1232 (“TVPRA”), ORR is responsible for the placement, care, custody and release
13   of “unaccompanied alien children.”
14          2.    The named Plaintiffs are immigrant and asylum-seeking children
15   detained for alleged civil violations of the INA and are members of the class protected
16   under the settlement in Flores, v. Sessions, No. 85-cv-4544-DMG (AGRx) (C.D. Cal.)
17   (“Flores Settlement”). Plaintiffs file this complaint as an adjunct and supplement to
18   their motion to enforce their rights under the Flores Settlement. That motion is pending
19   before this Court and calendared for hearing on July 27, 2018. (See Flores v. Sessions,
20   No. 85-cv-4544, ECF Nos. 409, 440.)
21          3.    The Flores Settlement and TVPRA § 235 oblige ORR to —
22          (a)   minimize the detention of immigrant children by releasing them to their
23                parents or other qualified custodians so long as their continued detention
24                is not required due to dangerousness or unusual flight risk;
25          (b)   place detained immigrant children in the least restrictive setting that is in
26                the best interest of individual children—generally a facility having a state
27                license to care for dependent, as opposed to delinquent, juveniles—for
28                however long as they remain in federal custody;
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1           (c)   ensure that detained immigrant children are held only in facilities that are
2                 safe, sanitary and consistent with concern for the particular vulnerability
3                 of minors; and
4           (d)   ensure to the greatest extent practicable that children who are or have
5                 been in ORR custody, except those from contiguous countries, have
6                 counsel to represent them in legal matters and protect them from
7                 mistreatment, exploitation, and trafficking.
8           4.    ORR violates the foregoing requirements, as well as the Due Process
9    Clause of the Fifth Amendment of the U.S. Constitution and the Freedom of
10   Association Clause of the First Amendment to the U.S. Constitution, by pursuing the
11   following policies and practices:
12          (a)   ORR confines children in staff-secure facilities, residential treatment
13                centers (“RTCs”), and secure facilities peremptorily, often on bare
14                allegations they are dangerous or pose a flight risk, without affording
15                them a meaningful or timely opportunity to be heard regarding the
16                reasons for such placement;
17          (b)   ORR prolongs children’s detention on the ground that their parents or
18                other available custodians are or may be unfit, while affording neither
19                detained juveniles nor their proposed custodians a meaningful or timely
20                opportunity to be heard regarding a proposed custodian’s fitness;
21          (c)   ORR places children in residential treatment facilities and detention
22                facilities in which it knows they will be administered powerful
23                psychotropic medications for weeks, months, or years, without
24                procedural safeguards, including seeking their parents’ consent—even
25                those who are present in the United States and readily available to grant
26                or withhold consent to ORR’s medicating their children—or other lawful
27                authorization; and
28          (d)   ORR blocks lawyers from representing detained children with respect to
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1                     placement, non-consensual administration of psychotropic medications,
2                     or release to available custodians notwithstanding that Congress has
3                     allocated funds specifically to provide such lawyers to represent children
4                     who are or have been in ORR custody in “legal matters,” including issues
5                     related to release and least-restrictive placement.
6           5.        By this action, Plaintiffs seek equitable relief on behalf of themselves and
7    those similarly situated requiring Defendants to conform their polices, practices, and
8    procedures to the Flores Settlement, § 235 of the TVPRA, the Due Process Clause of
9    the Fifth Amendment to the U.S. Constitution, and the Freedom of Association Clause
10   of the First Amendment to the U.S. Constitution. Plaintiffs also seek nominal damages
11   against individual Defendant E. Scott Lloyd in his personal capacity pursuant to Bivens
12   v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971).
13                                                  II.
14                                  JURISDICTION AND VENUE
15          6.        This Court has jurisdiction over this action pursuant to Paragraph 37 of
16   the Flores Settlement (providing for “the enforcement, in this District Court, of the
17   provisions of this Agreement except for claims brought under Paragraph 24”); 28
18   U.S.C. § 1331 (federal question jurisdiction); and 28 U.S.C. § 2241 (habeas corpus
19   jurisdiction).
20          7.        Plaintiffs’ action for declaratory relief is brought pursuant to 28 U.S.C.
21   §§ 2201 and 2202, and 5 U.S.C. § 703.
22          8.        Venue is properly in this court pursuant to Paragraph 37 of the Flores
23   Settlement and 28 U.S.C. § 1391(b) and (e)(1), because this action challenges class-
24   wide violations of the Flores Settlement, and because acts complained of herein
25   occurred in this district, Defendants have offices in this district, and no real property
26   is involved in this action.
27          9.        Plaintiffs have private rights of action against Defendants pursuant to
28   Paragraph 37 of the Flores Settlement, the Administrative Procedure Act, and 5 U.S.C.
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1    §§ 701 et seq.
2                                              III.
3                                           PARTIES
4           10.   Plaintiff Lucas R.1 is a native and citizen of Guatemala whom ORR is
5    currently detaining at the Shiloh Residential Treatment Center (“Shiloh RTC”) in
6    Texas. He was born in 2005 and is twelve years old. Lucas is, and at all relevant times
7    was, an unaccompanied alien child within the meaning of 6 U.S.C. § 279(g)(2) and a
8    member of the plaintiff class the Flores Settlement protects. Pursuant to Federal Rule
9    of Civil Procedure 17(c)(2), Lucas appears through his Next Friend and sister,
10   Madelyn R., a resident of Los Angeles, California. ORR has refused to release Lucas
11   to his Next Friend and sister on the ground that Madelyn’s home may be unfit.
12          11.   Plaintiff Daniela Marisol T. is a native and citizen of Honduras in ORR
13   custody in a residential group home in Kentwood, Michigan. Daniela Marisol was
14   born in 2001 and is sixteen years old. Daniela Marisol is, and at all relevant times was,
15   an unaccompanied alien child within the meaning of 6 U.S.C. § 279(g)(2) and a
16   member of the plaintiff class the Flores Settlement protects. Pursuant to Federal Rule
17   of Civil Procedure 17(c)(2), Daniela Marisol appears through her Next Friend and
18   sister, Katherine L., a resident of St. Paul, Minnesota. ORR has refused to release
19   Daniela Marisol to her Next Friend and sister on the ground that Katherine is or may
20   be unfit.
21          12.   Plaintiff Gabriela N. is a native and citizen of El Salvador whom ORR is
22   presently detaining in St. Michael’s Home for Children in Houston, Texas. She was
23   born in 2000 and is seventeen years old. Gabriela is, and at all relevant times was, an
24   unaccompanied alien child within the meaning of 6 U.S.C. § 279(g)(2) and a member
25   of the plaintiff class the Flores Settlement protects. Pursuant to Federal Rule of Civil
26   Procedure 17(c)(2), Gabriela appears through her Next Friend and grandfather, Isaac
27
     1Plaintiffs concurrently seek permission to use pseudonyms for the named Plaintiffs
28   and their Next Friends.
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1    N., a resident of Oakland, California. ORR has refused to release Gabriela to her Next
2    Friend and grandfather on the ground that Isaac is or may be unfit.
3           13.   Plaintiff Miguel Angel S. is a native and citizen of Mexico whom ORR
4    is presently detaining at Yolo County Juvenile Detention Center (“Yolo”), a secure
5    facility in Woodland, California. He was born in 2001 and is seventeen years old.
6    Miguel Angel is, and at all relevant times was, an unaccompanied alien child within
7    the meaning of 6 U.S.C. § 279(g)(2) and a member of the plaintiff class the Flores
8    Settlement protects. Pursuant to Federal Rule of Civil Procedure 17(c)(2), Miguel
9    Angel appears through his Next Friend and father, Gerardo S., a resident of San Jose,
10   California. ORR has refused to release Miguel Angel to his Next Friend and father on
11   the ground that Gerardo is or may be unfit.
12          14.   Plaintiff Jaime D. is a native and citizen of Honduras and presently being
13   held in ORR custody in Dobbs Ferry, New York. He was born in 2004 and is thirteen
14   years old. Jaime is, and at all relevant times was, an unaccompanied alien child within
15   the meaning of 6 U.S.C. § 279(g)(2) and a member of the plaintiff class the Flores
16   Settlement protects. Pursuant to Federal Rule of Civil Procedure 17(c)(2), Jaime
17   appears through his Next Friend, Reyna D., a resident of Riverdale, Maryland. Reyna
18   is Jaime’s aunt. Reyna has sought to be Jaime’s custodian and to have Jaime released
19   from ORR custody into her care.
20          15.   Plaintiff San Fernando Valley Refugee Children Center, Inc. (“Children
21   Center”) is a non-profit organization incorporated in the State of California, with its
22   principal place of business in North Hills, California. The Children Center is a project
23   of the North Hills United Methodist Church’s Hispanic Mission. The Children
24   Center’s mission is to provide comprehensive social services, including mental health
25   care, shelter, transitional living assistance and legal aid, to children, youth, and
26   families who have come in search of refuge from persecution and endemic violence in
27   the Northern Triangle of Central America (El Salvador, Honduras, and Guatemala).
28   The children and youth the Children Center serves are the functional equivalents of its
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1    members. The rights of children and youth the Children Center seeks to protect in this
2    action are germane to its mission and purpose. ORR’s policies and practices, as alleged
3    herein, make it substantially more difficult for the Children Center to carry out its
4    mission. For example, many of the children and youth whom the Children Center
5    serves have suffered multiple psychological and physical traumas, first in their
6    countries of origin, next during their journeys through Mexico, and then again, upon
7    being arrested and detained for immigration violations. The more time already-
8    traumatized children and youth remain detained, separated from their parents and
9    families, the more their mental and physical health deteriorates. The trauma that
10   immigration detention causes children and youth is greater still when ORR places them
11   in restrictive settings such as juvenile halls and RTCs, or medicates them involuntarily
12   or without their parents’ consent or other lawful authority. The additional trauma such
13   detention inflicts requires the Children Center to devote commensurately greater
14   resources, particularly mental health resources, to assist such children and youth to
15   recover.
16          16.   The Children Center is one of a small number of non-profit organizations
17   that serve refugee children and youth. The Children Center’s resources are limited and
18   do not allow it to help all who are in need. The Children Center’s ability to raise funds
19   depends in part on the raw number of children and youth it helps. As a practical matter,
20   resources the Children Center’s devotes to serving one child or youth are unavailable
21   to others. Defendants’ challenged policies and practices divert the Children Center’s
22   limited resources to address the injuries those policies and practices cause, thereby
23   reducing the number of other needy children and youth the Children Center is able to
24   assist, and, a fortiori, its ability to raise funds. The Children Center therefore has a
25   direct institutional interest in: (a) minimizing the time refugee children and youth are
26   detained; (b) ensuring that such children and youth are housed in minimally restrictive
27   settings for however long they must remain in immigration-related detention;
28   (c) minimizing the injury children and youth suffer as a result of taking psychotropic
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1    drugs; and (d) ensuring that refugee children and youth have counsel to assist them in
2    all legal matters relating to their immigration status, including custody, placement, and
3    the administration of psychotropic drugs without parental consent. The direct
4    participation in this litigation of the children and youth whom the Children Center
5    serves is not necessary because Plaintiffs seek only prospective equitable relief and
6    nominal damages.
7           17.    Plaintiff Unaccompanied Central American Refugee Empowerment
8    (“UCARE”) is an unincorporated consortium of non-profit agencies, most of which
9    are incorporated in the State of California, with its principal place of business in Los
10   Angeles, California. UCARE’s mission is to advocate for and provide legal and social
11   services to immigrant and refugee minors, many of whom are or have been in ORR or
12   Immigration and Customs Enforcement custody. In appropriate cases, UCARE
13   arranges free representation and assistance to youth with immigration problems before
14   the U.S. Citizenship and Immigration Services, the Executive Office of Immigration
15   Review, and the Board of Immigration Appeals. Defendants’ unlawful policies, and
16   practices, as alleged herein, make such assistance and representation substantially
17   more difficult and render UCARE’s work less effective. ORR’s compliance with the
18   Flores Settlement and § 235 of the TVPRA is germane to UCARE’s purpose. The
19   individual participation of aggrieved youth the UCARE serves is not necessary
20   because UCARE seeks only prospective or injunctive relief and nominal damages for
21   its client members. UCARE has an actual stake in this litigation because the funding
22   of UCARE’s member organizations is largely determined by the number of youth they
23   serve. Defendants’ challenged policies and practices deny or delay children’s release,
24   and thus delay or deny Plaintiff UCARE’s member organizations the opportunity to
25   serve them.
26          18.    Defendant Alex Azar is the Secretary of HHS and oversees ORR.
27   Pursuant to 6 U.S.C. § 279, HHS is responsible for the proper care and placement of
28   unaccompanied alien children who are in federal custody by reason of their
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 1   immigration status. HHS and ORR discharge these duties by, inter alia, entering into
 2   contracts with public and private entities to house, care for, and provide legal
 3   assistance to unaccompanied alien children arrested and detained pursuant to the INA.
 4   Defendant Azar is sued in his official capacity only.
 5          19.    Defendant E. Scott Lloyd is the Director of ORR. ORR is responsible for
 6   the care and custody of unaccompanied alien children in federal custody on account
 7   of their immigration status. Defendant Lloyd is sued in his individual capacity for
 8   nominal damages pursuant to Bivens v. Six Unknown Named Agents of Fed. Bureau of
 9   Narcotics, 403 U.S. 388 (1971), and in all other respects in his official capacity only.
10          20.    Defendants, and each of them, have historically professed to act in the
11   capacity of parens patriae to detained children. Defendants, and each of them, thereby
12   assume a legal obligation to act in such children’s best interests. Defendants breach
13   this duty in pursuing the policies and practices challenged in this Complaint.
14                                             IV.
15                NAMED PLAINTIFFS’ EXPERIENCES IN ORR CUSTODY
16   A.     Lucas R.
17          21.    On or about February 12, 2018, ORR assumed custody of Plaintiff Lucas
18   R. after he arrived at the U.S.-Mexico border. ORR placed him at the Hacienda del Sol
19   facility in Youngtown, Arizona. Within approximately ten days, Madelyn R., Lucas’
20   adult sister and Next Friend, requested Lucas’ custody and delivered to ORR a family
21   reunification packet with the required documentation. Many years ago, Lucas and
22   Madelyn’s father abandoned them; their mother died when Lucas was approximately
23   two years old. Thereafter, Madelyn and an aunt raised Lucas in his parents’ stead.
24   Madelyn and Lucas have a very close relationship. Over the next six weeks or so, ORR
25   assured Madelyn that everything was in order and that it would soon release Lucas to
26   her custody; it did not.
27          22.    According to Madelyn, in Guatemala, Lucas was a thriving, happy child
28   who liked to joke, play, and talk with people. When he arrived at Hacienda del Sol,
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 1   facility staff noted that Lucas appeared cooperative, calm, and alert, and showed “no
 2   behavioral concerns.”
 3          23.   As his confinement wore on, however, Lucas became depressed, fearing
 4   that ORR would never release him to his family. Without obtaining Madelyn’s
 5   informed consent, the informed consent of any other adult family member, or judicial
 6   authorization, ORR administered Lucas psychotropic drugs, ostensibly to control
 7   “moderate” depression. Upon information and belief, ORR did not involve a neutral
 8   decision maker in the initial determination of whether to prescribe psychotropic
 9   medications to Lucas or in ongoing reviews of those medications.
10          24.   The medications caused Lucas stomach pain, and he refused to continue
11   taking them. On or about May 21, 2018, ORR transferred Lucas to Shiloh RTC in
12   Manvel, Texas, without affording him notice, an opportunity to be heard, or a right to
13   appeal. ORR led Madelyn to believe Shiloh RTC was simply another shelter to which
14   it was sending Lucas because Hacienda del Sol lacked space. ORR did not inform
15   Madelyn that Shiloh RTC is a psychiatric institution, that it had administered Lucas
16   psychotropic drugs at the Hacienda del Sol facility, that he was being transferred to
17   Shiloh RTC for mental health reasons, or that Lucas would be required to take more
18   psychotropic drugs at Shiloh RTC.
19          25.   Approximately six weeks after Madelyn had requested Lucas’ custody,
20   ORR sent an investigator to Madelyn’s home in Los Angeles, California. Living with
21   Madelyn then and now are her infant daughter, adult brother, and an unrelated female
22   roommate and her child. At the time the investigator arrived, Madelyn’s roommate’s
23   brother was visiting.
24          26.   The investigator indicated to Madelyn that her home was suitable, but
25   that all adults who reside with her would have to appear for fingerprinting, including
26   her roommate’s brother. Madelyn advised the investigator that her roommate’s brother
27   did not live in the home, but the investigator insisted that the visitor appear for
28   fingerprinting regardless. All the adult residents of Madelyn’s home appeared for
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 1   fingerprinting, but her roommate’s brother did not. Approximately one month later,
 2   ORR orally advised Madelyn that it would not release Lucas to her because her
 3   roommate’s brother had failed to appear for fingerprinting. ORR represented to
 4   Madelyn that its decision was final, and afforded neither Madelyn nor Lucas any
 5   hearing, right to administrative appeal, or other means to change its decision. ORR
 6   failed to provide Madelyn with a written decision or written explanation for denying
 7   her custody of Lucas. Due to ORR’s actions and inactions, Lucas’ release has been
 8   unnecessarily delayed, and Lucas has not been placed in the least restrictive setting.
 9          27.   Twelve-year-old Lucas remains detained at Shiloh RTC where he has
10   been administered Zoloft. Zoloft’s side-effects include rigidity in the muscles, high
11   fever, sweating, confusion, agitation, hallucinations, overactive reflexes, tremors,
12   nausea, vomiting, diarrhea, loss of appetite, fainting, and seizures.
13          28.   Shiloh personnel have now diagnosed Lucas with “major depressive
14   disorder.” Among Lucas’ “major stressors,” Shiloh personnel identify his “[b]eing
15   kept from family and in ORR custody.” Shiloh staff have nonetheless told Lucas that
16   ORR will not release him until Shiloh medical personnel declare him psychologically
17   sound.
18          29.   ORR has provided Lucas no legal counsel to represent him with respect
19   to release, the administration of psychotropic medications, or placement at Shiloh.
20   B.     Daniela Marisol T.
21          30.   On or about August 3, 2017, Plaintiff Daniela Marisol T., a partially deaf
22   sixteen-year-old girl, arrived at the U.S.-Mexico border with her older sister, Katherine
23   L., and her nephew. Daniela Marisol, Katherine, and her younger nephew fled from
24   their home country in fear for their lives. At the border, Daniela Marisol was forcibly
25   separated from her sister and nephew and placed in the custody of ORR at the
26   International Education Service Norma Linda Shelter in Los Fresnos, Texas. Daniela
27   Marisol and Katherine are very close, and Daniela Marisol views Katherine as a
28   second mother. Daniela Marisol was so emotionally traumatized by the separation that
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 1   she was later admitted to a psychiatric hospital to cope with the trauma. The screening
 2   physician also recommended treatment for Daniela Marisol’s hearing disability once
 3   she was released to her sister—a release that, eleven months later, has yet to come to
 4   fruition.
 5           31.   Katherine and her son, detained separately from Daniela Marisol, were
 6   released from immigration custody after they proved to an Asylum Officer that they
 7   have a credible fear of persecution should they be returned to Honduras. Upon release,
 8   Katherine applied to become Daniela Marisol’s custodian and have ORR release
 9   Daniela Marisol to her custody. However, ORR has placed arbitrary, expensive, and
10   excessive conditions on Daniela Marisol’s release, which Katherine has not been able
11   to meet.
12           32.   According to Katherine, when Daniela Marisol lived in Honduras with
13   her family, she did not seem to have mental health issues. However, Daniela Marisol’s
14   psychological state rapidly deteriorated after her family separation. It was further
15   exacerbated when caseworkers told Daniela Marisol that she was not going to be
16   released to her sister. Daniela Marisol lost hope that she would ever be released to her
17   family. Depressed and suicidal, she was admitted to a psychiatric hospital where she
18   suffered a psychotic breakdown.
19           33.   While Daniela Marisol was detained at the Norma Linda shelter, a doctor
20   recognized that she was deaf in one ear. ORR declined to treat her deafness and instead
21   noted that she should consult a specialist regarding her deafness “once [she was]
22   reunified with family.” Months later, when she was at a new facility, it was
23   recommended she receive hearing aids, but to date, Daniela Marisol has not received
24   them.
25           34.   After her breakdown, on or about September 8, 2017, ORR transferred
26   Daniela Marisol to Shiloh RTC in Manvel, Texas, without affording her notice, an
27   opportunity to be heard or a right to appeal. At Shiloh, Daniela Marisol’s hearing
28   disability went untreated.
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 1          35.     Without obtaining the informed consent of Daniela Marisol’s mother,
 2   Katherine, other family members, or court authorization, ORR administered numerous
 3   psychotropic medications to Daniela Marisol, including atypical antipsychotics and
 4   antidepressants, starting when she was in the Norma Linda shelter, and continuing
 5   while she was at Shiloh RTC and the David and Margaret shelter in La Verne,
 6   California, and through her present placement, Bethany Christian Services in
 7   Michigan. In the approximately ten months that she has been in ORR custody, Daniela
 8   Marisol has been given multiple psychotropic medications, including Prozac, Abilify,
 9   Clonidine, Risperdal, Seroquel, and Zyprexa. While in ORR custody, Daniela Marisol
10   has been the subject of numerous, changing diagnoses, including “Bipolar disorder,
11   MRE, Mixed, with psychosis, GAD, PTSD;” “major depressive disorder, recurrent
12   episode, severe with mood-congruent psychotic features;” and “bipolar II disorder,
13   generalized anxiety disorder, PTSD.” Upon information and belief, ORR did not
14   involve a neutral decision maker in the initial determination of whether to prescribe
15   psychotropic medications to Daniela Marisol or in ongoing reviews of those
16   medications.
17          36.     As recognized by the U.S. Food and Drug Administration (“FDA”),
18   antidepressants such as those prescribed to Daniela Marisol “increase[] the risk
19   compared to placebo of suicidal thinking and behavior (suicidality) in children,
20   adolescents, and young adults in short term studies of major depressive disorder
21   (MDD) and other psychiatric disorders.” ORR has frequently given Daniela Marisol
22   an atypical antipsychotic and an antidepressant in combination. Research
23   demonstrates that the number and severity of side effects, such as thoughts of suicide
24   and intentional self-harm, increases as the number of concurrent medications
25   increases. Daniela Marisol has become suicidal while being made to take such
26   antidepressants and drug combinations.
27          37.     Daniela Marisol believes that she has to take the medicine because facility
28   staff have told her that she must in order to be released from government custody.
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 1          38.    Katherine desperately wants to provide her younger sister a loving and
 2   safe home, and she has done everything in her power to have Daniela Marisol released
 3   to her care. However, ORR has told Katherine that, in order for Daniela Marisol to be
 4   released to her care, Katherine must move to a new house, have a separate private
 5   bedroom for Daniela Marisol, and prove that she can pay over $500 per month for
 6   Daniela Marisol’s medical care. Katherine has been unable to meet ORR’s arduous
 7   and arbitrary demands. ORR never provided Katherine with a written decision or
 8   written explanation for denying her custody of Daniela Marisol. It represented to her
 9   that the requirements that it set and its decision were final, and it never afforded
10   Katherine or Daniela Marisol any hearing, right to administrative appeal, or other
11   means to change its decision. Due to ORR’s actions and inactions, Daniela Marisol’s
12   release has been unnecessarily delayed, and she has not been placed in the least
13   restrictive setting.
14          39.    Daniela Marisol remains in government custody, away from her sister
15   and other family. ORR has given her no legal counsel to represent her with respect to
16   release, administration of psychotropic medications, or her placement.
17   C.     Miguel Angel S.
18          40.    On or about May 16, 2017, ORR assumed custody of Plaintiff Miguel
19   Angel after he arrived at the U.S.-Mexico border. ORR placed him at the Southwest
20   Key shelter in southern California. The staff initially told Miguel Angel that he would
21   be released to Gerardo S., his father and next friend, within three months.
22          41.    As Miguel’s time in detention wore on, he felt anxious at the shelter and
23   often feared he would never be released. On July 17, 2017, ORR transferred Miguel
24   Angel to Shiloh RTC in Texas, without affording him notice, an opportunity to be
25   heard or a right to appeal. At Shiloh, Miguel Angel was administered several
26   psychotropic medications, including Remeron, Trazadone, Seroquel, and Lexapro.
27   Side effects of these medications include stomach pain, dizziness, nausea, drowsiness,
28   unusual weight gain, blurred vision, and insomnia.
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 1          42.     Miguel Angel objected to taking the medications because they made him
 2   feel itchy, dizzy, aggressive, nauseous, and caused him to gain an unusual amount of
 3   weight in a short period of time. Shiloh staff insisted that he take the medication. Upon
 4   information and belief, the staff at Shiloh administered these medications to Miguel
 5   Angel without obtaining Gerardo’s informed consent or judicial authorization.
 6          43.   Upon information and belief, ORR did not involve a neutral decision
 7   maker in the initial determination of whether to prescribe psychotropic medications to
 8   Miguel Angel or in ongoing review of those medications.
 9          44.   While Miguel Angel was detained at Shiloh, several staff members
10   physically assaulted him multiple times. During one incident, a staff member placed
11   Miguel Angel in a headlock, painfully ripping Miguel Angel’s earring out of his
12   earlobe. A physician’s assistant watched this, but did nothing to stop the attack. Miguel
13   Angel reported the incident immediately to the facility doctor, but the doctor laughed
14   and did nothing. Another time, two Shiloh staff members picked Miguel Angel up by
15   his arms and pushed him up against a wall. One of the staff members pressed his
16   forearm across Miguel Angel’s throat, making it hard for him to breathe. Upon
17   information and belief, when Miguel Angel reported the incidents to staff, no
18   disciplinary action was taken.
19          45.   In March 2018, shortly after these assaults took place, ORR transferred
20   Miguel Angel to Yolo Juvenile Detention Center, affording him neither notice nor
21   opportunity to be heard. Upon information and belief, Miguel Angel was transferred
22   to Yolo in retaliation for reporting the assaults.
23          46.   At Yolo, facility staff attacked Miguel Angel with pepper spray, and he
24   fears they will do it again. On one occasion, after Miguel Angel had been pepper
25   sprayed by staff in his eyes and ears, he had to use water from the toilet in his cell to
26   wash out his eyes because staff cut off water to his sink. The pepper spray made his
27   eyes feel like they were on fire, and he lost hearing in one ear for several days. Miguel
28   Angel spends most of his time at Yolo locked in a small cell and is only allowed out
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 1   for short periods, which makes him feel trapped and tortured.
 2          47.   Miguel Angel’s father, Gerardo, applied to be Miguel Angel’s sponsor
 3   around October 2017. Miguel Angel and Gerardo have a very close relationship, and
 4   Miguel Angel wants to live with him. Gerardo lives in an apartment with his brother,
 5   and in October 2017 both Gerardo and his brother submitted all required documents
 6   to ORR, including birth certificates and fingerprints. ORR also requested that
 7   Gerardo’s neighbor, who lives across the hallway, submit the same information. The
 8   neighbor submitted this information in October 2017.
 9          48.   In December 2017, a home investigator visited Gerardo’s apartment to
10   perform a home study. The home study went well, and the investigator assured
11   Gerardo that Miguel Angel would probably be released in the first few weeks of
12   January. Gerardo heard nothing from ORR or Miguel Angel’s case workers throughout
13   January or February 2018.
14          49.   In March 2018, Gerardo was told that the Shiloh doctors would not
15   approve Miguel Angel for release and that he would remain in ORR custody until they
16   do. In early May 2018, Miguel Angel’s case worker at Yolo told Gerardo that he
17   needed to provide proof of school enrollment and the name of a psychiatric clinic in
18   order for Miguel Angel to be released. Gerardo has tried his best to comply with these
19   requirements, but the local school requires Miguel Angel to be physically present in
20   order to be enrolled, and Gerardo has been unable to find a psychiatric clinic that will
21   give Miguel Angel an appointment. In late May 2018, Miguel Angel’s case worker
22   told Gerardo that his fingerprints had expired, and that Gerardo, his brother, and his
23   neighbor would need to submit their fingerprints again.
24          50.   ORR has refused to release Miguel Angel to Gerardo’s custody for eight
25   months. ORR has not provided Miguel Angel or Gerardo with written notification of
26   its refusal to release Miguel Angel or the basis for the refusal, or an opportunity to
27   review the underlying evidence or appeal ORR’s refusal to release Miguel Angel to
28   his father. Due to ORR’s actions and inactions, Miguel Angel’s release has been
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 1   unnecessarily delayed and he has not been placed in the least restrictive setting.
 2   D.     Gabriela N.
 3          51.   On or about January 8, 2017, ORR assumed custody of Plaintiff Gabriela
 4   N., shortly after she had turned herself in at the U.S.-Mexico border. As a young girl
 5   living in El Salvador, Gabriela experienced extreme violence and did not feel safe at
 6   home. ORR placed her at the Southwest Key Casita del Valle facility (“Casita del
 7   Valle shelter”) in Clint, Texas. In the fall of 2017, Isaac N., Gabriela’s grandfather and
 8   Next Friend, requested Gabriela’s custody and submitted an application to serve as her
 9   custodian. Gabriela’s mother appeared before a U.S. Consular official in El Salvador
10   to execute a formal designation pursuant to Paragraph 14D of the Flores settlement
11   directing ORR to release Gabriela to her grandfather.
12          52.   Gabriela’s biological father is deceased, and her stepfather physically
13   abused her mother and disabled sister who suffers from paralysis from the abuse and
14   can no longer to speak. Thus, Gabriela fled to the U.S. seeking safety, with the hope
15   of living with her grandfather. Gabriela and her grandfather, Isaac, have a close
16   relationship, and she wants to live with him. Over the next eight months or so, Isaac
17   continued to submit documents that ORR requested and completed a home study in
18   anticipation that ORR would release Gabriela to his custody; it did not.
19          53.   According to Isaac, in El Salvador, Gabriela had no mental health
20   concerns, and she took no medications for mental illness. When she arrived at Casita
21   del Valle shelter, facility staff noted that Gabriela appeared emotionally stable,
22   receptive, and resilient.
23          54.   As her confinement wore on, however, Gabriela became depressed and
24   anxious, fearing that ORR would never release her to her family. Without obtaining
25   Isaac’s informed consent, the informed consent of any other adult family member, or
26   judicial authorization, ORR repeatedly administered Gabriela psychotropic
27   medications, ostensibly to control post-traumatic stress disorder, anxiety, major
28   depressive disorder, and attention-deficit hyperactivity disorder (“ADHD”).
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 1          55.   While at Casita del Valle shelter, Gabriela was administered Prozac, a
 2   psychotropic medication.
 3          56.   On or about September 7, 2017, ORR transferred Gabriela to Shiloh RTC,
 4   without affording notice, an opportunity to be heard or a right to appeal. At Shiloh,
 5   ORR administered Gabriela more psychotropic medications, including Gabapentin,
 6   Prozac, and Bupropion, all of which include side effects of increased risk of suicidal
 7   ideation and behavior. Bupropion is not FDA-approved to treat depression or ADHD
 8   in adolescents. Upon information and belief, ORR did not involve a neutral decision
 9   maker in the initial determination of whether to prescribe psychotropic medications to
10   Gabriela or in ongoing review of those medications.
11          57.   Gabriela does not believe the medications help her, and she does not want
12   to take them. However, Gabriela believes that she must take the medications in order
13   to be released from detention. Shiloh staff told Gabriela that ORR would not release
14   her until Shiloh medical personnel declare her psychologically sound.
15          58.   In February 2018, ORR sent an investigator to Isaac’s home in Oakland,
16   California, where he lived, and continues to live, alone. Isaac moved to a new
17   apartment and purchased a new bed for Gabriela in preparation for her release.
18          59.   The investigator indicated to Isaac that his home was suitable, but
19   questioned Isaac’s ability to support Gabriela’s education and care for her financially.
20   Isaac assured the investigator that he would do everything required to provide for
21   Gabriela. Later, Gabriela’s social worker at Shiloh told Isaac that ORR was no longer
22   considering him as a custodian for his granddaughter and was going to transfer
23   Gabriela elsewhere. ORR afforded neither Isaac nor Gabriela any hearing, right to
24   administrative appeal, or other means to change its decision. ORR failed to provide
25   Isaac with a written decision or written explanation for denying him custody of
26   Gabriela. Due to ORR’s actions and inactions, Gabriela’s release has been
27   unnecessarily delayed and Gabriela has not been placed in the least restrictive setting.
28          60.   Seventeen-year-old Gabriela remains detained at St. Michael’s Home for
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 1   Children, where she has been administered Prozac.
 2          61.   After being detained for over one and a half years, Gabriela is miserable
 3   and desperately wants to live with her grandfather. Her grandfather is ready and eager
 4   to care for her. Shiloh staff have nonetheless told Gabriela that ORR will not release
 5   her to her grandfather. ORR has provided Gabriela no legal counsel to represent her
 6   with respect to release, the administration of psychotropic medications, or her
 7   placement at Shiloh.
 8   E.     Jaime D.
 9          62.   On or about April 8, 2018, ORR assumed custody of Plaintiff Jaime D.
10   after he arrived at the U.S.-Mexico border with his 6-year-old sister and 10-year-old
11   aunt. ORR placed Jaime and his younger sister and aunt at the Cayuga Centers shelter
12   in Bronx, New York. On or about April 10, 2018, Reyna D., Jaime’s aunt and Next
13   Friend, requested Jaime’s custody and submitted a family reunification packet to ORR.
14   Reyna is Jaime’s only family in the United States. Jaime desperately wants to be
15   released to Reyna’s care. Jaime’s mother died when he was seven years old and, upon
16   information and belief, his father died before he was born. Reyna discussed ORR’s
17   requirements for becoming Jaime’s custodian in detail with Jaime’s case manager at
18   Cayuga Centers and immediately began gathering the required documents to send to
19   ORR.
20          63.   When Jaime was first sent to Cayuga Centers, the staff made him feel
21   very nervous. Jaime was terrified that he would be forced to return to his home country,
22   where his life had been threatened. He made up a story about his life in his home
23   country, because he thought that this would make the shelter staff leave him alone. He
24   later recanted this story multiple times. Despite the shelter recommending that Jaime
25   be placed in a staff-secure facility, thirteen-year-old Jaime was transferred to a secure
26   facility.
27          64.   On or about April 18, 2018, ORR transferred Jaime to Yolo County
28   Juvenile Detention Center in Woodland, California. ORR transferred Jaime to Yolo
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 1   without affording him notice, an opportunity to be heard or a right to appeal. He was
 2   awakened at 4:00 in the morning and restrained with heavy shackles throughout the
 3   cross-country flight from New York to California. Jaime was not allowed to say
 4   goodbye to his younger sister or aunt. He was extremely worried they would think he
 5   had abandoned them.
 6          65.     Yolo staff first contacted Reyna regarding her application for Jaime’s
 7   custody about a week after Jaime arrived at Yolo. Approximately two weeks later,
 8   Jaime’s case manager noted that Reyna had “provided all that [had] been asked of
 9   her,” including a complete family reunification packet and fingerprints. In late May
10   2018, Reyna completed a home study and interview with a home investigator. ORR
11   found Reyna a suitable custodian for Jaime’s younger sister and aunt. ORR released
12   the two girls to Reyna’s care on or about June 8, 2018.
13          66.     While detained at Yolo, Jaime was very scared for his safety and suffered
14   from anxiety. Reyna was extremely concerned for his well-being as well, as Jaime
15   sounded increasingly sad and scared during their phone calls. Throughout his time at
16   Yolo, Jaime suffered physical abuse at the hands of older youth in the facility. Jaime
17   alerted facility staff of the abuse, but staff ignored his concerns and said they did not
18   believe him.
19          67.     Two weeks after he was transferred to Yolo, Jaime’s case manager noted
20   that the Yolo staff were “all in agreement that [Jaime] isn’t appropriately placed in a
21   secure setting.” Jaime was told by his case worker that he was too young to be at Yolo
22   and would hopefully be transferred soon. However, Jaime remained at Yolo for
23   another three weeks. On or about May 24, 2018, ORR transferred Jaime to Children’s
24   Village staff secure facility in Dobbs Ferry, New York.
25          68.     Thirteen-year-old Jaime remains detained at Children’s Village, where he
26   is increasingly anxious and worried that he will never be released to his aunt’s care.
27   As of the filing of this Complaint, Reyna has not heard from Jaime’s case worker at
28   Children’s Village for over a month. Reyna has not been given any information about
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 1   why Jaime has not yet been released to her care. ORR has not provided Jaime or Reyna
 2   with written notification of its refusal to release Jaime or the basis for the refusal, or
 3   an opportunity to review the underlying evidence or appeal ORR’s refusal to release
 4   Jaime to his aunt. Due to ORR’s actions and inactions, Jaime’s release has been
 5   unnecessarily delayed and Jaime has not been placed in the least restrictive setting.
 6          69.   ORR has provided Jaime no legal counsel to represent him with respect
 7   to release or his placement at Children’s Village.
 8                                              V.
 9                             CLASS ACTION ALLEGATIONS
10          70.   The named Plaintiffs bring this action pursuant to Federal Rule of Civil
11   Procedure 23(a) and (b)(2) on behalf of themselves and the following similarly situated
12   proposed class members:
13          All children in ORR custody pursuant to 6 U.S.C. § 279 and/or 8 U.S.C.
14   § 1232 —
15          (a)   whom ORR refuses to release to parents or other available custodians
16                within thirty days of the proposed custodian’s submitting a complete
17                family reunification packet on the ground that the proposed custodian is
18                or may be unfit;
19          (b)   who have been, are or will be placed in a secure facility, medium-secure
20                facility, or RTC, or continued in any such facility for more than thirty
21                days, without being afforded notice and an opportunity to be heard before
22                a neutral and detached decisionmaker regarding the grounds for such
23                placement; or
24          (c)   who have been or will be administered psychotropic medication without
25                procedural safeguards, including obtaining informed consent or court
26                authorization prior to medicating a child, involving a neutral
27                decisionmaker in the initial determination of whether to prescribe
28                psychotropics to a child in ORR custody, and involving a neutral
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 1                decision-maker to conduct periodic reviews of those medications as
 2                treatment continues; or
 3          (d)   who are natives of non-contiguous countries and to whom ORR blocks
 4                legal assistance in legal matters or proceedings involving their custody,
 5                placement, release, and/or non-consensual consumption of psychotropic
 6                drugs.
 7          71.   The exact size of the proposed class is unknown, but likely includes
 8   hundreds of children. The size of the class is so numerous that joinder of all members
 9   is impracticable.
10          72.   The claims of Plaintiffs and those of the proposed class members raise
11   common questions of law and fact concerning whether Defendants’ policies and
12   practices relating to the release, placement, treatment, and legal representation of
13   detained immigrant children are consistent with the Flores Settlement, § 235 of the
14   TVPRA, the Fifth Amendment to the United States Constitution, and the First
15   Amendment of the Constitution. These questions are common to the named Plaintiffs
16   and the members of the proposed class because Defendants have acted and will
17   continue to act on grounds generally applicable to the named Plaintiffs and the
18   proposed class members. Plaintiffs’ claims are typical of the class’s claims.
19          73.   The prosecution of separate actions by individual members of the
20   proposed class would create a risk of inconsistent or varying adjudications establishing
21   incompatible standards of conduct for Defendants. Proposed class members are
22   predominantly indigent, non-English-speaking children who are being denied basic
23   fairness in ORR’s prolonging their detention in lieu of releasing them to parents or
24   other proposed custodians, “stepped up” to RTC, secure or staff-secure placement
25   without notice or opportunity to be heard, and administered psychotropic medications
26   without a parent’s informed consent. The proposed class members are under ORR’s
27   exclusive physical control and often understand little, if anything, about their rights
28   under the Flores Settlement, the TVPRA, or the Constitution. ORR actively obstructs
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 1   lawyers from representing members of the proposed class in legal proceedings relating
 2   to custody, placement, or release. Unless this matter proceeds as a class action, the
 3   majority of class members have little chance of securing judicial review of the policies
 4   and practices challenged herein.
 5          74.   Defendants, their agents, employees, and predecessors and successors in
 6   office have acted or refused to act, and will continue to act or refuse to act, on grounds
 7   generally applicable to the class, thereby making injunctive relief and corresponding
 8   declaratory relief appropriate with respect to the class as a whole. Plaintiffs will
 9   vigorously represent the interests of unnamed class members. All members of the
10   proposed class will benefit by this action. The interests of the named Plaintiffs and
11   those of the proposed class members are identical.
12          75.   Plaintiffs are represented by experienced and reputable lawyers
13   associated with non-profit public interest law firms and an international law firm
14   serving pro bono publico. Plaintiffs’ counsel includes attorneys with years of
15   experience litigating complex suits and class actions on behalf of children and foreign
16   nationals, including counsel for the plaintiff class in Flores v. Sessions.
17                                              VI.
18                ORR POLICY & PRACTICE VIOLATES DUE PROCESS
19   A.     Defendants have violated Plaintiffs’ due process and family association rights,
20          the TVPRA, and the Flores Settlement in determining custodians’ fitness.
21          76.   When children are held in government custody apart from their primary
22   caregivers for long periods, they suffer profound and long-lasting injury. The
23   American Academy of Pediatrics has explained that “highly stressful experiences, like
24   family separation, can cause irreparable harm, disrupting a child’s brain architecture
25   and affecting his or her short- and long-term health. This type of prolonged exposure
26   to serious stress—known as toxic stress—can carry lifelong consequences for
27   children.” Toxic stress is associated with increased rates of mental health issues, risky
28   health behaviors, and physical illness such as diabetes, cancer, posttraumatic stress
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 1   disorder (“PTSD”), and heart disease. Studies of immigrant children detained in the
 2   United States have discovered high rates of PTSD, anxiety, depression, and suicidal
 3   ideation. A primary factor in recovering from such trauma is reunification with a
 4   parent or other trusted adult. Without the presence of trusted caregivers, children are
 5   often unable to cope with the psychological trauma and stress associated with
 6   detention.
 7          77.   Paragraph 14 of the Flores Settlement requires ORR to release children
 8   from immigration-related custody “without unnecessary delay” so long as their
 9   continued detention is not required to secure availability for removal or to protect
10   safety. Paragraph 18 of the Settlement requires ORR to make “prompt and continuous
11   efforts” toward family reunifications and to release children to suitable custodians
12   without unnecessary delay.
13          78.   Similarly, § 235(c)(2)(A) of the TVPRA, codified at 8 U.S.C.
14   1232(c)(2)(A), requires ORR to “promptly” place detained children “in the least
15   restrictive setting that is in the best interest of the child,” generally, with “a suitable
16   family member . . . .” TVPRA § 235(c)(3)(A) provides, “[A]n unaccompanied alien
17   child may not be placed with a person or entity unless the Secretary of Health and
18   Human Services makes a determination that the proposed custodian is capable of
19   providing for the child’s physical and mental well-being.”
20          79.   Paragraph 24A of the Flores Settlement guarantees detained children the
21   right to a hearing during which an immigration judge reviews whether they may be
22   continued in custody because they are dangerous or unusually likely to abscond.
23   However, neither the Flores Settlement nor the TVPRA prescribe what process is due
24   where ORR unreasonably prolongs a juvenile’s detention or refuses to release him or
25   her because ORR questions whether an available parent or other potential custodian is
26   capable of providing for the child’s physical and mental well-being.
27          80.   Plaintiffs have substantial liberty interests in being free from government
28   custody, in preserving their family unity and the ability for their family to care for
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 1   them, and in family association. Defendants may not abridge these liberty interests
 2   without appropriate procedures to protect against erroneous deprivation.
 3          81.   Plaintiffs have a fundamental right to the supervision, companionship,
 4   and care of their parents. Absent a showing of parental unfitness, the government may
 5   not keep children from their parents or refuse to release children into the custody of
 6   their parents.
 7          82.   As a matter of both policy and practice, ORR does not make prompt and
 8   continuous efforts toward family reunification and the release of children in its
 9   custody. Instead, it delays or refuses to make determinations about whether proposed
10   custodians are or may be unfit.
11          83.   As a matter of both policy and practice, ORR affords Plaintiffs and their
12   proposed class members little or no procedural protection against prolonged detention
13   on the ground that their parents or other proposed custodians are or may be unfit.
14   ORR’s nominal procedures for vetting detained children’s parents or other proposed
15   custodians do not appear in the Code of Federal Regulations, nor even in a semi-
16   permanent practice manual. Rather, they appear on ORR’s web page,
17   www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-
18   section-2 (last visited June 29, 2018), and are subject to change without prior notice
19   or opportunity for comment. Under its nominal procedures —
20          (a)   ORR does not decide within any time certain whether a detained minor’s
21                parent or other proposed custodian is suitable;
22          (b)   ORR does not provide a detained minor, or his or her parent or other
23                proposed custodian, an opportunity to inspect or rebut evidence
24                derogatory of the proposed custodian’s fitness;
25          (c)   ORR does not afford a detained minor or his or her proposed custodian a
26                hearing before a neutral and detached decisionmaker either before or after
27                ORR declares a potential custodian unfit;
28          (d)   Once ORR decides a proposed custodian is unsuitable, it need not inform
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 1                a detained minor or the proposed custodian of its decision for up to 30
 2                days;
 3          (e)   ORR allows detained minors no appeal or other administrative recourse
 4                from its finding a proposed custodian unsuitable, though such a decision
 5                nearly always prolongs the minor’s detention;
 6          (f)   Except for parents and legal guardians, ORR allows rejected custodians
 7                no appeal from a decision declaring them unfit, which nearly always
 8                prolongs an affected minor’s detention;
 9          (g)   As for parents and legal guardians, ORR’s policy requires them to submit
10                a written request to HHS’s Assistant Secretary for Children and Families
11                to be heard regarding ORR’s declaring them unfit, but a hearing need not
12                be convened within any time certain.
13          84.   Whether a parent or other custodian is qualified to care for a child is a
14   matter generally committed to state and local governments. Plaintiffs are informed and
15   believe that in all fifty states and their subdivisions, children may not be detained for
16   want of a qualified custodian without affording them and/or their parents or other
17   potential custodians a prompt hearing before a judge or other neutral and detached
18   decisionmaker, during which allegations of unfitness are tested via trial-like
19   procedures and any ensuing finding of unsuitability must be based on competent
20   evidence.
21          85.   In contrast, in refusing to release Plaintiffs and those similarly situated to
22   parents and other available custodians on grounds of fitness, ORR provides neither
23   Plaintiffs nor those similarly situated —
24          (a)   an evidentiary hearing;
25          (b)   the right to review or rebut adverse witnesses and evidence;
26          (c)   appointed counsel, guardians ad litem, or interpreters;
27          (d)   a finding of suitability or lack thereof by a neutral and detached decision-
28                maker under defined and consistent legal standards;
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 1          (e)    the right to a prompt determination of a proposed custodian’s fitness; or
 2          (f)    the right to appeal administratively adverse decisions.
 3          86.    In practice, ORR often refuses to decide whether a detained child’s
 4   proposed custodian is fit, thereby needlessly prolonging detention and family
 5   separation.
 6          87.    On information and belief, Plaintiffs allege that, to date, HHS’s Assistant
 7   Secretary for Children and Families has never convened an actual hearing before a
 8   neutral arbiter to review a decision by ORR declaring a detained child’s proposed
 9   custodian unsuitable.
10          88.    ORR’s procedures for determining whether parents and other proposed
11   custodians are suitable creates an unreasonable risk that Plaintiffs and those similarly
12   situated will be erroneously —
13          (a)    subjected to prolonged detention;
14          (b)    placed in overly restrictive settings that are not in their best interests;
15          (c)    administered psychotropic medications; and
16          (d)    separated from parents and family.
17          89.    As a direct and proximate result of ORR’s torpid, opaque, and
18   perfunctory procedures for declaring detained children’s parents and other proposed
19   custodians unsuitable, Plaintiffs and those similarly situated have been and will be
20   erroneously—
21          (a)    subjected to prolonged detention;
22          (b)    placed in overly restrictive settings that are not in their best interests;
23          (c)    administered psychotropic medications; and
24          (d)    separated from parents and family.
25          90.    The government’s refusing to release children to their parents’ custody,
26   or to the custody of adult siblings and other family members, deprives plaintiffs of
27   their fundamental rights without any reasonable justification or legitimate purpose,
28   violates the substantive and procedural components of the Due Process Clause, and
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 1   violates the freedom of association clause of the First Amendment. In prolonging the
 2   separation of children from their proposed custodians, Defendants also compromise
 3   the short and long-term health of Plaintiffs and those similarly situated.
 4   B.     Defendants have violated Plaintiffs’ due process rights, the TVPRA, and the
 5          Flores Settlement by placing them in unlicensed placements.
 6          91.   Definition 6 and paragraph 19 of the Flores Settlement require ORR to
 7   place a detained child in a non-secure facility holding a state license to care for
 8   dependent children except in circumstances enumerated in Settlement paragraph 21:
 9   i.e., the child has committed a violent crime or non-petty delinquent act, has threatened
10   violence during federal custody, is an unusual escape-risk, or is so disruptive that
11   secure confinement is necessary to ensure the welfare of the minor or others.
12          92.   Section 235(c)(2)(A) of the TVPRA similarly requires ORR to place
13   detained children promptly “in the least restrictive setting that is in the best interest of
14   the child . . .” and bars its placing a child “in a secure facility absent a determination
15   that the child poses a danger to self or others or has been charged with having
16   committed a criminal offense.”
17          93.   TVPRA § 235(c)(2)(A) provides, “The placement of a child in a secure
18   facility shall be reviewed, at a minimum, on a monthly basis, in accordance with
19   procedures prescribed by the Secretary, to determine if such placement remains
20   warranted.” The TVPRA is otherwise silent with respect to what process is due when
21   ORR places or continues a child in an RTC, medium-secure or secure facility.
22          94.   Federal law and policy recognize that both children and communities are
23   better off when children are not needlessly incarcerated. A vast body of research has
24   established that detaining children interferes with healthy development, exposes youth
25   to abuse, undermines educational attainment, makes children with mental health needs
26   worse off, and puts children at greater risk of self-harm. Juvenile detention facilities
27   often respond to threats of self-harm in ways that further endanger youth, such as by
28   placing them in isolation. Schooling children receive during detention is often
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 1   substandard, which places them at serious disadvantage when they enter school after
 2   having been detained for substantial periods. Research has demonstrated that
 3   incarceration also exacerbates pre-existing trauma.
 4          95.   The vast majority of children who end up in secure custody through ORR
 5   have never been charged, let alone convicted, of crimes in the U.S. or in their home
 6   country. Often, ORR places the most vulnerable children—those with the greatest
 7   mental health needs—in staff-secure, secure or RTC facilities. Prolonging the
 8   detention of children with mental health needs in such facilities is profoundly
 9   injurious. ORR’s detaining children in such facilities exacerbates mental health issues
10   to the point that ORR eventually consigns children to mental hospitals.
11          96.   The Fifth Amendment’s Due Process Clause protects children’s freedom
12   from unnecessary physical restraint, including placement in RTCs, medium-secure or
13   secure facilities. ORR’s placing children in such facilities is constrained by due
14   process, which requires adequate procedural protections to ensure that ORR’s asserted
15   justification for such placement outweighs children’s constitutionally protected
16   interest in avoiding excessive physical restraint. Due process requires that ORR give
17   Plaintiffs and their proposed class members meaningful notice and an opportunity to
18   be heard before it places them in RTCs, medium-secure or secure facilities and an
19   ongoing review with commensurate protections every thirty days.
20          97.   As a matter of policy and practice, Defendant ORR affords detained
21   children wholly inadequate procedural protection against erroneous placement in
22   RTCs, secure or medium-secure facilities. ORR’s procedures for initially placing a
23   child in an RTC, secure or medium-secure facility and for periodically reviewing the
24   need for such placements appear nowhere in the Code of Federal Regulations. Rather,
25   they appear on ORR’s web page and are subject to change without prior notice or
26   opportunity for public comment.
27          98.   In practice, ORR’s placing children in RTCs, secure or medium-secure
28   facilities results from an opaque and peremptory process in which youth are summarily
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 1   “stepped up” to such facilities without any meaningful opportunity to be heard, either
 2   before or after being stepped up, regarding the reasons for placing them in such
 3   facilities. In placing children in RTCs, secure and medium-secure facilities, ORR
 4   provides neither Plaintiffs nor those similarly situated —
 5          (a)   an evidentiary hearing;
 6          (b)   notice of the placement decision or individualized reasoning therefor;
 7          (c)   an opportunity to present evidence and witnesses;
 8          (d)   the right to a neutral adjudicator;
 9          (e)   an opportunity to review or rebut adverse witnesses and evidence;
10          (f)   the right to counsel, guardians ad litem, or interpreters;
11          (g)   a finding of dangerousness or other adequate cause for such placement
12                under coherent and consistent legal standards;
13          (h)   the right to appeal administratively from adverse decisions; or
14          (i)   a monthly review of whether their placement in RTCs, medium-secure,
15                or secure facilities remains warranted.
16          99.   Pursuant to paragraph 24A of the Flores Settlement and orders issued by
17   the District Court for the Central District of California, immigration judges may
18   review ORR’s decisions to continue detaining children in federal custody on grounds
19   they are dangerous or unusual flight-risks. ORR regularly places children in RTCs,
20   secure and medium-secure facilities on the ground that they are dangerous or unusual
21   flight-risks, contrary to immigration judges’ determinations that they are neither.
22          100. Plaintiffs are informed and believe that in all fifty states and their
23   subdivisions, it is unlawful to place children in RTCs, secure or medium-secure
24   facilities without affording them a prompt and meaningful opportunity to be heard
25   before a neutral and detached decisionmaker regarding the grounds for such
26   placement.
27          101. The lack of procedural protection against erroneous ORR decisions to
28   place children in RTCs, secure and medium-secure facilities creates an unreasonable
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 1   risk that youth will be placed in overly restrictive settings against their best interests,
 2   subjected to needless restrictions on their personal liberty, and unjustly suffer the
 3   trauma and stigma of imprisonment. As a direct and proximate result of ORR’s
 4   peremptorily consigning children to RTCs, secure and medium-secure facilities,
 5   Plaintiffs and their proposed class members have been and are being erroneously:
 6   (a) placed in restrictive settings against their best interests; (b) subjected to excessive
 7   restrictions on their personal liberty; and (c) subjected to the trauma and stigma of
 8   imprisonment.
 9          102. Placement in RTCs, secure and medium-secure facilities further injures
10   Plaintiffs and those similarly situated because ORR, as a matter of policy and practice,
11   delays release to parents and other reputable custodians of youth whom it has ever
12   confined in such facilities, even when such placement is based on incomplete,
13   inaccurate, or erroneous evidence, and even if ORR subsequently transfers a child to
14   a non-secure dependent care facility.
15          103. As a matter of policy and practice, ORR refuses to release children whom
16   it has ever placed in a secure or medium-secure facility until and unless its director or
17   his designee approves release. In practice, this policy prolongs non-dangerous
18   children’s detention for weeks or months notwithstanding that parents or other
19   reputable custodians are available to care for them.
20          104. As a matter of policy and practice, ORR refuses to release children whom
21   it has placed in RTCs until and unless RTC medical personnel declare the child
22   mentally fit. ORR affords children no hearing or other meaningful procedural recourse
23   when RTC medical personnel refuse to declare them mentally fit. As a direct and
24   proximate result of said policy and practice, children placed in RTCs suffer the
25   functional equivalent of indefinite civil commitment without due process of law.
26          105. On information and belief, Plaintiffs further allege that ORR regularly
27   insists that the parents and other potential custodians possess novel and superfluous
28   qualifications to receive custody of children whom ORR has ever placed in an RTC,
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 1   secure or medium-secure facility. Such qualifications include being cancer-free,
 2   having income sufficient to supply released children with psychotropic drugs,
 3   repetitive fingerprinting, and supplying fingerprints of third parties who do not reside
 4   in the proposed custodian’s home. As a direct and proximate result of said policy and
 5   practice, children placed in RTCs, secure and medium-secure facilities have been and
 6   are being erroneously: (a) placed in restrictive settings against their best interests; and
 7   (b) subjected to excessive restrictions on their personal liberty.
 8   C.     Defendants have subjected Plaintiffs to the administration of psychotropic drugs
 9          without having procedural safeguards in place, including obtaining informed
10          consent.
11          106. Paragraph 7 of the Flores Settlement provides in pertinent part: “The INS
12   shall assess minors to determine if they have special needs ….” A child may have
13   special needs “due to drug or alcohol abuse, serious emotional disturbance, mental
14   illness or retardation, or a physical condition or chronic illness that requires special
15   services or treatment.” Paragraph 12 of the Flores Settlement provides in pertinent
16   part: “Following arrest, the INS shall hold minors in facilities that are safe and sanitary
17   and that are consistent with the INS’s concern for the particular vulnerability of
18   minors.” The Flores Settlement further provides that facilities in which ORR places
19   children with mental health needs must “meet those standards . . . set forth in Exhibit
20   1.” Settlement ¶¶ 6, 8. Exhibit 1 requires that licensed programs “comply with all
21   applicable state child welfare laws and regulations . . . and shall provide or arrange for
22   the following services for each minor in its care: . . . appropriate mental health
23   interventions when necessary.”
24          107. Section 235(c)(2) of the TVPRA requires ORR to provide children in its
25   custody with safe and secure placements. Placements that involve the unnecessary or
26   coerced administration of psychotropic medications are neither “safe” nor “secure.”
27          108. The Flores Settlement incorporates by reference relevant law of the state
28   in which children are placed and thereby requires ORR to comply with applicable child
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 1   welfare laws and regulations when administering psychotropic medications to
 2   Plaintiffs and those similarly situated. Plaintiffs are informed and believe, and on such
 3   basis allege, that the laws of all states in which ORR places Plaintiffs and those
 4   similarly situated require ORR to obtain informed parental consent or its lawful
 5   equivalent when administering psychotropic medications to minors.
 6          109. For example, Texas Administrative Code sections 748.2001(b),
 7   748.2253, 748.2255 require informed consent be provided prior to administering
 8   psychotropic drugs to children in state custody. Texas Family Code section 266.004(a)
 9   provides that before children in the care of the Texas Department of Family and
10   Protective Services may receive medical care, someone authorized by a court must
11   provide consent.
12          110. Similarly, California Welfare and Institutions Code sections 369.5(a)(1)
13   and 739.5(a)(1) provide that only a juvenile court may lawfully authorize the
14   administration of psychotropic medication to children who are in state custody, unless
15   the juvenile court specifically authorizes a parent to do so after making specific
16   findings regarding the parent’s fitness and capacity to do so.
17          111. Plaintiffs and their proposed class members have a substantial liberty
18   interest protected by the Due Process Clause of the Fifth Amendment in being free
19   from the unauthorized and unnecessary administration of psychotropic medications.
20   Plaintiffs are entitled to constitutionally sufficient procedures to protect against
21   erroneous deprivation of this interest.
22          112. Psychotropic medications are powerful drugs that act on the central
23   nervous system and affect cognition, emotions, and behavior. Such drugs should only
24   be administered in combination with other mental health supports to treat specifically
25   diagnosed psychiatric illnesses and mental health disorders. Few psychotropic
26   medications have been approved by the FDA as safe and effective to treat children,
27   and careful oversight and monitoring is accordingly required when children are given
28   such drugs. Such medications should not be used as chemical straitjackets to control
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 1   behavior.
 2          113. Serious, long-lasting adverse effects are common for individuals given
 3   psychotropic medications. The full risks of giving such drugs to children are not well
 4   understood, although psychotropics are known to cause serious and sometimes
 5   irreversible side effects in adults, including psychosis, seizures, movement disorders,
 6   suicidal ideation, aggression, extreme weight gain, and organ damage. Increasing the
 7   number of psychotropic drugs children take concurrently increases the likelihood of
 8   adverse reactions and long-term side effects. Close and continuing scrutiny of children
 9   given such medications is therefore critical.
10          114. As a matter of policy and practice, ORR authorizes and condones the
11   administration of psychotropic drugs to children entirely without procedural
12   safeguards, including informed parental consent. Rather, ORR authorizes detention
13   facility staff to “consent” to the involuntary, long-term administration of psychotropic
14   drugs to juveniles in their parents’ stead, even when such parents are readily available
15   to ORR and/or the detention facility to give or withhold such consent.
16          115. As a matter of policy and practice, ORR also fails to provide any
17   substantial procedural safeguards against unnecessary or unauthorized administration
18   of psychotropic drugs to children in its custody. At a minimum, such safeguards must
19   include a neutral decisionmaker’s approval of the initial decision to administer
20   psychotropics to a child, as well as periodic reviews to ensure that youth are not
21   administered psychotropic medications unnecessarily, for too long, at harmful dosages
22   or in harmful combinations.
23          116. On information and belief, Plaintiffs allege that ORR failed to have any
24   of these procedural safeguards in place prior to administering psychotropic
25   medications to the named Plaintiffs. In addition, the psychiatrist who currently
26   prescribes psychotropic medications to children at ORR’s Shiloh RTC, Dr. Javier
27   Ruíz-Nazario, is not certified by the Texas Medical Board to treat children and
28   adolescents. Dr. Ruíz-Nazario has also received payments from drug companies that
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 1   manufacture psychotropic drugs given to children at Shiloh RTC.
 2   D.     Defendants have obstructed Plaintiffs’ access to counsel.
 3          117. Paragraph 24A of the Flores Settlement requires ORR to give detained
 4   children a hearing before an immigration judge to review whether they are dangerous
 5   or likely to abscond. Settlement paragraph 24D provides that Defendants must
 6   “promptly provide each minor not released with . . . the list of free legal services
 7   providers compiled pursuant to INS regulation . . . .” Exhibit 1, paragraph 14 of the
 8   Flores Settlement requires licensed facilities in which Defendants detain minors to
 9   provide “information regarding the availability of free legal assistance, the right to be
10   represented by counsel at no expense to the government . . . .” Exhibit 6 of the Flores
11   Settlement advises detained minors, “If you believe that you have not been properly
12   placed or that you have been treated improperly, you may ask a federal judge to review
13   your case. You may call a lawyer to help you do this. If you cannot afford a lawyer,
14   you may call one from the list of free legal services given to you with this form.”
15          118. Section 235(c)(5) of the TVPRA directs Defendant HHS Secretary to
16   “ensure, to the greatest extent practicable and consistent with section 292 of the
17   Immigration and Nationality Act (8 U.S.C. § 1362), that all unaccompanied alien
18   children who are or have been in the custody of the Secretary or the Secretary of
19   Homeland Security, and who are not [from contiguous countries], have counsel to
20   represent them in legal proceedings or matters and protect them from
21   mistreatment . . . .” Section 279(b)(A) of the HSA makes ORR responsible for
22   “developing a plan to be submitted to Congress on how to ensure that qualified and
23   independent legal counsel is timely appointed to represent the interests of each such
24   [unaccompanied alien] child . . . .” Immigration regulations, including 8 C.F.R.
25   §§ 287.3(c), 1003.62, 1240.10(a)(2) and 1292.1 et seq., generally guarantee Plaintiffs
26   and their proposed class members the right to be represented by retained and pro bono
27   counsel in proceedings before U.S. Citizenship and Immigration Services and the
28   Executive Office for Immigration Review.
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 1          119. In furtherance of TVPRA § 235(c)(5), Defendant HHS contracts with the
 2   Vera Institute of Justice (“VIJ”), a non-profit organization, to coordinate the delivery
 3   of free legal services to unaccompanied children from non-contiguous countries who
 4   are or have been in ORR custody. VIJ in turn subcontracts with non-profit legal aid
 5   providers to counsel and represent such children in applying for affirmative
 6   immigration benefits, such as asylum or Special Immigrant Juvenile Status, and in
 7   asserting other defenses against removal.
 8          120. In many regions of the country, VIJ-funded legal services providers are
 9   the only legal counsel available to juveniles in ORR custody. Plaintiffs and the
10   members of the proposed class are almost uniformly indigent, speak little or no
11   English, and have little or no ability to represent themselves in hearings pursuant to
12   paragraph 24A of the Flores Settlement or in any other legal proceedings involving
13   ORR’s custody, release, placement or medication decisions.
14          121. On information and belief, ORR has no eligibility standards for providing
15   VIJ-funded legal services to detained children. Rather, ORR exercises opaque and
16   arbitrary discretion to prescribe those legal matters or proceedings in which VIJ-
17   funded legal providers may represent detained children and those in which they may
18   not.
19          122. As a matter of policy and practice, ORR routinely bars VIJ-funded legal
20   services providers from representing unaccompanied children from non-contiguous
21   countries in legal proceedings involving ORR’s custody, release, placement, and
22   medication decisions, even when such legal services providers have the time and
23   desire to undertake such representation.
24          123. Legal proceedings involving ORR’s custody, release, placement, and
25   medication decisions, including hearings pursuant to paragraph 24A of the Flores
26   Settlement, are “legal proceedings or matters” within the meaning of TVPRA
27   § 235(c)(5).
28          124. By blocking VIJ-funded legal services providers from representing
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 1   children in legal proceedings involving ORR’s custody, release, placement and
 2   medication decisions, ORR forces Plaintiffs and those similarly situated to fend for
 3   themselves in a complex and foreign adversarial legal system with little hope of
 4   prevailing. Without meaningful access to counsel, Plaintiffs and those similarly
 5   situated are denied a fair chance of succeeding in legal challenges to ORR’s custody,
 6   release, placement and medication decisions and, a fortiori, suffer prolonged detention
 7   and the harms extended confinement and family separation inflicts. ORR deprives
 8   youth of liberty for years, which is comparable to imprisonment for a felony
 9   conviction.
10          125. In blocking Plaintiffs and those similarly situated from receiving
11   assistance in legal matters and proceedings involving ORR’s custody, placement,
12   medication, and release decisions, ORR acts arbitrarily, capriciously, abusively of
13   discretion, and contrary to children’s best interests, and obstructs lawyers from
14   discharging their duty of zealous representation.
15          126. As a direct and proximate result of ORR’s blocking VIJ-funded legal
16   services providers from representing Plaintiffs and those similarly situated children in
17   legal proceedings involving ORR’s custody, release, placement, or medication
18   decisions, including hearings pursuant to paragraph 24A of the Flores Settlement,
19   Plaintiffs and those similarly situated are being: (a) improperly administered
20   psychotropic drugs; (b) erroneously denied placement in the least restrictive setting
21   that is in their best interest; and (c) erroneously denied release to available custodians
22   without unnecessary delay.
23                                             VII.
24                                 IRREPARABLE INJURY
25          127. Plaintiffs have suffered and will continue to suffer irreparable harm
26   because of Defendants’ policies and practices as challenged herein. ORR has deprived
27   and will continue to deprive Plaintiffs and those similarly situated of their rights under
28   the First and Fifth Amendments, the TVPRA, and the Flores Settlement. ORR
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 1   confines children to jail-like settings without affording them a meaningful or timely
 2   opportunity to be heard regarding the reasons for such placement; prolongs children’s
 3   detention on the ground that their parents or other available custodians are or may be
 4   unfit, while affording neither detained children nor their proposed custodians a
 5   meaningful or timely opportunity to be heard regarding a proposed custodian’s fitness;
 6   places children in facilities in which it knows they will be administered powerful
 7   psychotropic medications without procedural safeguards; and blocks lawyers from
 8   representing detained children with respect to placement, administration of
 9   psychotropic medications, or release to available custodians. In doing so, Defendants
10   have profoundly undermined the health and well-being of Plaintiffs and those similarly
11   situated along multiple domains, as described above.
12                                            VIII.
13                               FIRST CLAIM FOR RELIEF
14       [DENIAL OF DUE PROCESS: DETERMINING CUSTODIANS’ FITNESS]
15          128. Plaintiffs hereby incorporate by reference Paragraphs 1-127 of this
16   Complaint as though fully set forth here.
17          129. As a matter of policy and practice Defendants unreasonably and
18   unnecessarily delay or refuse to release children to parents, close family members, and
19   other available custodians on the ostensible grounds that such custodians are or may
20   be unfit, and they do so without affording detained minors or their proposed custodians
21   a timely, prompt, or meaningful opportunity to be heard regarding such custodians’
22   fitness. Defendants’ policies and practices violate the fundamental rights of Plaintiffs
23   and those similarly situated and demonstrate a deliberate indifference to risk of harm
24   to children.
25          130. Such policy and practice individually and collectively violate paragraphs
26   14 and 18 of the Flores Settlement, TVPRA § 235(c)(2)(A), the Administrative
27   Procedure Act, 5 U.S.C. §§ 701 et seq., the procedural and substantive components of
28   the Due Process Clause of the Fifth Amendment of the United States Constitution, and
                                                                   Center for Human Rights & Constitutional Law
                                                                                        256 S. Occidental Blvd.
     Complaint                                   37.                                    Los Angeles, CA 90057
                                                                                                 213/388-8693
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 1   the Freedom of Association Clause of the First Amendment of the United States
 2   Constitution.
 3                                               IX.
 4                             SECOND CLAIM FOR RELIEF
 5                [DENIAL OF DUE PROCESS: RESTRICTIVE PLACEMENT]
 6          131. Plaintiffs hereby incorporate by reference Paragraphs 1-127 of this
 7   Complaint as though fully set forth here.
 8          132. As a matter of policy and practice, Defendants place Plaintiffs and those
 9   similarly situated in RTCs, secure facilities, and medium-secure facilities without
10   affording them a meaningful opportunity to be heard either prior or subsequent to such
11   placement.
12          133. Such policy and practice individually and collectively violate Definition
13   6 and paragraph 19 of the Flores Settlement, TVPRA § 235(c)(2)(A), the
14   Administrative Procedure Act, 5 U.S.C. §§ 701 et seq., and the Due Process Clause of
15   the Fifth Amendment to the United States Constitution.
16                                               X.
17                              THIRD CLAIM FOR RELIEF
18               [UNLAWFUL ADMINISTRATION OF PSYCHOTROPIC DRUGS]
19          134. Plaintiffs hereby incorporate by reference Paragraphs 1-127 of this
20   Complaint as though fully set forth here.
21          135. As a matter of policy and practice, Defendants administer children
22   psychotropic drugs without procedural safeguards, including: obtaining informed
23   consent or the lawful equivalent; involving a neutral decision maker in the initial
24   determination of whether to prescribe psychotropic medications to children in ORR
25   custody; and conducting a periodic review of such treatment decisions to ensure that
26   youth are not administered psychotropic medications unnecessarily or at harmful
27   dosage levels or in harmful combinations.
28          136. Such policy and practice individually and collectively violate paragraphs
                                                                 Center for Human Rights & Constitutional Law
                                                                                      256 S. Occidental Blvd.
     Complaint                                   38.                                  Los Angeles, CA 90057
                                                                                               213/388-8693
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 1   6, 8, 12, and 19 and Exhibit 1 of the Flores Settlement, the TVPRA, the Administrative
 2   Procedure Act, 5 U.S.C. §§ 501 et seq., and the Due Process Clause of the Fifth
 3   Amendment to the United States Constitution.
 4                                               XI.
 5                             FOURTH CLAIM FOR RELIEF
 6    [BLOCKING LEGAL ASSISTANCE IN MATTERS RELATING TO CUSTODY,
 7                             MEDICATION AND RELEASE]
 8          137. Plaintiffs hereby incorporate by reference Paragraphs 1-127 of this
 9   Complaint as though fully set forth here.
10          138. As a matter of policy and practice, ORR blocks VIJ-funded lawyers from
11   representing Plaintiffs and those similarly situated in legal matters and proceedings
12   involving ORR’s decisions regarding custody, release, medication, and placement.
13          139. Such policy and practice individually and collectively violate paragraphs
14   24A and 24D, Exhibit 1 paragraph 14, and Exhibit 6 of the Flores Settlement, TVPRA
15   § 235(c)(5), HSA § 279(b)(A), 8 C.F.R. §§ 287.3(c), 1003.62, 1240.10(a)(2) and
16   1292.1 et seq., the Administrative Procedure Act, 5 U.S.C. §§ 501 et seq., and the Due
17   Process Clause of the Fifth Amendment to the United States Constitution.
18                                               XII.
19                                  PRAYER FOR RELIEF
20          WHEREFORE, Plaintiffs pray that this Court —
21          1.    assume jurisdiction of this cause;
22          2.    certify this case as a class action on behalf of the class proposed herein;
23          3.    enter declaratory judgment that Defendants’ policies and practices as
24   challenged herein are unlawful;
25          4.    issue temporary and permanent injunctions enjoining Defendants from —
26          (a)   denying Plaintiffs or their proposed class members due process in
27                evaluating the fitness of parents and other available custodians;
28          (b)   denying Plaintiffs or their class members due process in placing them in
                                                                   Center for Human Rights & Constitutional Law
                                                                                        256 S. Occidental Blvd.
     Complaint                                   39.                                    Los Angeles, CA 90057
                                                                                                 213/388-8693
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 1                RTCs, medium-secure or secure facilities;
 2          (c)   administering psychotropic drugs to Plaintiffs or their class members in
 3                non-exigent circumstances without parental consent or the lawful
 4                equivalent thereof;
 5          (d)   blocking Plaintiffs or their class members from receiving legal assistance
 6                pursuant to 8 U.S.C. § 1232(c)(5) in hearings in legal proceedings or
 7                matters involving ORR’s decisions regarding custody, placement, or
 8                release;
 9          5.    award the named Plaintiffs and their class members nominal damages
10   pursuant to Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403
11   U.S. 388 (1971);
12          6.    award Plaintiffs costs and attorney’s fees pursuant to the Equal Access to
13   Justice Act, 28 U.S.C. § 2412; and
14          7.    issue such further relief as the Court deems just and proper.
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                                                                  Center for Human Rights & Constitutional Law
                                                                                       256 S. Occidental Blvd.
     Complaint                                40.                                      Los Angeles, CA 90057
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 1   Dated: June 29, 2018                      Respectfully submitted,
 2                                             CARLOS HOLGUÍN
                                               Center for Human Rights &
 3                                             Constitutional Law
 4                                             HOLLY COOPER
 5                                             CARTER WHITE
                                               University of California Davis School of
 6                                             Law
 7                                             LEECIA WELCH
                                               NEHA DESAI
 8                                             POONAM JUNEJA
                                               CRYSTAL ADAMS
 9                                             National Center for Youth Law
10                                             SUMMER WYNN
11                                             MARY KATHRYN KELLEY
                                               JON CIESLAK
12                                             Cooley LLP
13
                                               /s/ Carlos R. Holguín
14                                             Carlos R. Holguín
15
16                                             /s/ Holly Cooper
                                               Holly Cooper
17
18                                             /s/ Leecia Welch
19                                             Leecia Welch
20
                                               /s/ Summer Wynn
21                                             Summer Wynn
22
23                                             Attorneys for Plaintiffs
24
25
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27
28
                                                               Center for Human Rights & Constitutional Law
                                                                                    256 S. Occidental Blvd.
     Complaint                           41.                                        Los Angeles, CA 90057
                                                                                             213/388-8693
